Case 2:14-cv-00697-RWS-RSP Document 90 Filed 03/16/15 Page 1 of 1 PageID #: 371

                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     LBS INNOVATIONS, LLC,                          §
                                                    §
            Plaintiff,                              §
                                                    §
                                                                Civil Action No. 2:14-cv-697
     v.                                             §
                                                    §
                                                                        LEAD CASE
     FOURSQUARE LABS, INC.,                         §
                                                    §
            Defendant.                              §

     LBS INNOVATIONS, LLC,                          §
                                                    §
            Plaintiff,                              §
                                                                Civil Action No. 2:14-cv-706
                                                    §
     v.                                             §
                                                                     CONSOLIDATED
                                                    §
     BERROCO, INC., et al.,                         §
                                                    §
            Defendants.                             §
                  ORDER GRANTING STIPULATED MOTION FOR DISMISSAL
            The Stipulated Motion for Dismissal of all claims and counterclaims asserted between

     Plaintiff LBS Innovations, LLC and Defendant Pizzeria Uno Corporation, filed subject to the
 .
     terms of the Agreement between the parties, is GRANTED.

            It is therefore ORDERED, ADJUDGED, AND DECREED that all claims and

     counterclaims asserted between Plaintiff LBS Innovations, LLC and Defendant Pizzeria Uno

     Corporation are hereby DISMISSED WITH PREJUDICE.

            It is further ORDERED that all costs, expenses, and attorneys’ fees are to be borne by the

     party that incurred them.

           The Clerk is ORDERED to terminate Pizzeria Uno Corporation from the instant case but

     the lead case shall remain open.
             SIGNED this 3rd day of January, 2012.
            SIGNED this 13th day of March, 2015.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
